Filed 05/29/19                                       Case 19-21640                                               Doc 48


                                       UNITED STATES BANKRUPTCY COURT
                                        EASTERN DISTRICT OF CALIFORNIA



                 Name(s)of Debtor(s): Debora Miller-Zuranich                    Case No. 2019-21640



                 Last four digits of Soc. Sec. No.: 6813
                 Last four digits of Soc. Sec. No.:
                                                  CHAPTER 13 PLAN
                                                     Section 1. Notices

                 1.01. Use of this form is mandatory. The Bankruptcy Court of the Eastern District
                 of California requires the use of this locai form chapter 13 plan in iieu of any
                 national form plan. This Pian shall be filed as a separate document.
                 1.02. Nonstandard provisions. Any nonstandard provision is in section 7 below. If
                 there are nonstandard provisions this box must be checked Pi. A nonstandard
                 provision wili be given no effect uniess this section indicates one is included in
                 section 7 and it appears in section 7.
                 1.03 No alterations to form plan permitted. Other than to insert text into designated
                 spaces, expand tables to include additional claims, or to change the pian title to
                 indicate the date of the pian or that it is a modified plan, the preprinted text of this
                 form shall not be altered. No such alteration will be given any effect.

                 1.04 Valuation of collateral and lien avoidance requires a separate motion. Unless
                 there is a nonstandard provision in section 7 requsting such relief, the confirmation
                 of this plan will not limit the amount of a secured claim based on a valuation of the
                 collateral for the claim, nor will it avoid a security interest or lien. This relief requires
                 a separate claim objection, valuation motion, or lien avoidance motion that is
                 successfully prosecuted in connection with the confirmation of this plan.
                 1.05 Separate notice of confirmation hearing. You will receive a separate notice of
                 the date, time, and location of a hearing to confirm this pian and of the deadline to
                 object to its confirmation. In the absence of a timely written objection, the plan may
                 be confirmed without a hearing. It will be effective upon its confirmation.
                                         Section 2. Plan Payments and Duration
                 2.01 Monthly plan payments.To complete this plan. Debtor shall submit to the
                 supervision and control of Trustee on a monthly basis the sum of $300.00 from
                 future eamings. This monthly plan payment is subject to adjustment pursuant to
                 section 3.07(b)(2) below and it must be received by Trustee not later than the 25th
                 day of each month beginning the month after the order for relief under chapter 13.
                 The monthly plan payment includes all adequate protection payments due on Class
                 2 secured claims

                 2.02 Other payments. In addition to the submission of future eamings, Debtor wiil
                 make payment(s)derived from property of the bankruptcy estate, property of
                 Debtor, or from other sources, as follows: Sale of the Merlin Property.
                 2.03 Duration of payments. The monthly plan payments will
                 continue for 60 months unless all allowed unsecured claims are paid in full within a
                 shorter period of time. If necessary to complete the plan, monthly payments may
                 continue for an additional 6 months, but in no event shall monthly payments
                 continue for more than 60 months.

                                             Section 3. Claims and Expenses
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